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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA     :
                             :                      CASE NO. 1:21-cr-00552 (DLF)
         v.                  :
                             :
KENNETH JOSEPH OWEN THOMAS, :
                             :
              Defendant.     :

      GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S
  MOTION TO DISMISS ON MULTIPLICITY GROUNDS RE ASSAULT CHARGES

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes Defendant Kenneth Joseph Owen Thomas’s Motion

to Dismiss on Grounds of Multiplicity and Insufficiency of Factual Basis for Assault Charges.

ECF No. 63.

                                      INTRODUCTION

       Defendant raises two claims: that the government’s indictment is multiplicitious and that

there is insufficient factual basis to support the five assault counts in the Second Superseding

Indictment (SSI). ECF No. 63. These counts are not multiplicitious, as the five assaults are

separate in location, time, victim, and impulse. See United States v. Duran, 96 F.3d 1495, 1498

(D.C. Cir. 1996). Moreover, multiplicity does not provide grounds for dismissing counts in the

indictment; instead, any potential double jeopardy issues may be remedied at sentencing where the

Court can address these concerns based on the full factual record. Additionally, the defendant’s

factual concerns related to the assault charges, which the government construes as a motion to

dismiss pursuant to Federal Rule of Criminal Procedure 12(b)(3)(b), are unfounded. “‘The

operative question is whether the allegations, if proven, would be sufficient to permit a jury to’

conclude that the defendant committed the criminal offense as charged.” United States v.



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Mostofsky, 579 F.Supp. 3d 9, 14 (D.D.C. 2021) (quoting United States v. Sanford, Ltd., 859

F.Supp. 2d 102, 107 (D.D.C. 2012)). Here, the defendant is alleged to have punched, shoved,

leaned against, grabbed a baton, and pushed a riot shield while yelling encouragement to the mob

around him during five separate encounters with law enforcement protecting the Capitol on

January 6, 2021. These allegations are sufficient to show that the defendant assaulted, resistant,

opposed, impeded, intimidated, or interfered with a federal officer engaged in the performance of

his or her duties. See 18 U.S.C. § 111. Therefore, the defendant’s motion should be denied.

                                          RESPONSE

                                     RELEVANT FACTS

       The defendant, in at least five separate instances, proactively and forcibly attacked law

enforcement on January 6, 2021. Some of the evidence showing the defendant’s five assaults may

be summarized as follows:

•   Count Three: At 3:30 p.m., the defendant runs up a small set of stairs and punches and/or
    pushes his fists directly into the chest of Metropolitan Police Department (MPD) Officer R.A.
    (Figure 1); Officer R.A. then pushes the defendant back down the set of stairs (Figure 2).




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                                         Figure 1 & 2

•   Count Four: A second later, the defendant runs up the set of stairs a second time (Figure 3
    and 4) and punches and/or pushes MPD Officer M.N. in the chest (Figure 5).




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                                          Figure 3, 4, & 5

•   Count Five: Almost an hour later, at around 4:22 p.m., the defendant, while holding his phone
    in his right hand pushes against MPD Officer R.A.’s riot shield with his left arm with his left
    hand balled in a fist (Figures 6, 7, and 8). After pushing with his left arm, the defendant turns
    around and uses his back to continue pushing against officers.




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                                          Figure 6, 7, & 8

•   Count Six: Four minutes later, beginning at 4:26 p.m., and about twenty yards back from the
    defendant’s previous interaction with law enforcement, as the defendant repeatedly, and in
    angrier and angrier tones, shouts, “HOLD THE LINE!” Police officers, who were attempting
    to move the mob of rioters off of Capitol Grounds, were in a line chanting, “move back!” while
    slowly advancing forward and physically moving the crowd backwards. The defendant raised
    his left hand in a fistand then joined arms with other rioters to push violently with their backs
    up against the line of police, including MPD Officer K.V., while continuing to shout “HOLD
    THE LINE!” and , “PUSH!”




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                                     Figure 9, 10, & 11

•   Count Seven: Two minutes later, at 4:28 p.m., after descending a small set of stairs, the
    defendant reengaged with the police line and pushed into MPD Officer R.N.’s riot shield
    multiple times. He also again chanting, “HOLD THE LINE!” while pushing and then grabbing
    an officer’s baton.




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                             Figure 12, 13, 14, 15, & 16 (left to right)
                                          ARGUMENT

I.   The Defendant is Appropriately Charged with Five Separate Assaults.

       The defendant argues that because his physical contact with police officers was in quick

succession and formed a part of “two 30-second scrums amid crowd chaos,” his conduct should

constitute “a single altercation” and “a single assault offense instead of five.” ECF No. 63 at 2-6.

The defendant did engage in a continuing course of conduct that can generally be described as

obstructing law enforcement officers during a civil disorder, which is why he is charged with a

single violation of 18 U.S.C. § 231 under Count One. See ECF No. 49. However, during the hours

that he obstructed law enforcement’s efforts generally, the defendant committed discrete assaultive

conduct by physically engaging with five separate officers, in distinct ways, in different locations,

and driven by separate impulses.

       The Double Jeopardy Clause “protects against multiple punishments for the same offense.”

United States v. Crosby, 20 F.3d 480, 483 (D.C. Cir. 1994) (citations omitted). “To claim benefit

of the guarantee, ‘a defendant must show that the two offenses charged are in law and fact the

same offense.’” Id. (emphasis added) (citing United States v. Benefield, 874 F.2d 1503, 1505 (11th

Cir. 1989)). One of the factors courts consider as to whether counts are multiplicitous is “whether

there is more than one act resulting in the assaults.” See ECF No. 63 at 5 (citing United States v.

Theriault, 531 F.2d 281 (5th Cir. 1976)). Courts also consider whether each assault has a separate,


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corresponding victim, or took place in separate locations. See, e.g., United States v. Duran, 96

F.3d 1495, 1498 (D.C. Cir. 1996); United States v. Mejia, 545 F.3d 179, 205 (2d Cir. 2008) (no

multiplicity issues where the appellants were “convicted of three counts of the same criminal

violation, assault, but the assaults were based on two separate drive-by shootings that resulted in

the shooting of three separate victims”); see also, e.g., United States v. Sandstrom, 594 F.3d 634,

652 (8th Cir. 2010) (denying any multiplicity issues where “the two attacks on McCay . . . were

separated by both time and location. The first attack occurred at 9th Street and Spruce Avenue at

6:00 a.m. The second attack occurred at 9th Street and Brighton Avenue approximately ten minutes

later.”) (citations omitted). On closer calls, courts often apply the “impulse test,” where they

review whether “‘the unlawful course of conduct is set on foot by a single impulse . . ..” See

United States v. Ali, 982 F. Supp. 2d 85, 87 (D.D.C. 2013) (citing United States v. McGoff, 831

F.2d 1071, 1078 (D.C.Cir.1987) ((quoting Toussie v. United States, 397 U.S. 112, 136 (1970)

(White, J., dissenting))); see also, e.g., Sandstrom, 594 F.3d at 652 (“To determine how many

courses of conduct [the defendants] undertook, we apply the so-called ‘impulse test.’ Applying

this test, ‘we treat as one offense all violations that arise from that singleness of thought, purpose

or action, which may be deemed a single impulse.’ If an attack is ‘uninterrupted,’ then we will

‘discern a single impulse.’ Here, the two attacks on McCay were not ‘uninterrupted.’”) (citations

omitted).

       The circumstances here are similar to those in which the D.C. Circuit has upheld multiple

18 U.S.C. § 111(a) convictions. In United States v. Duran, the defendant imperiled the lives of

four Secret Service officers who were present on White House grounds when the defendant “ran

east along the White House fence, spraying gunfire across the North Lawn.” Id. at 1498. The D.C.

Circuit upheld the four 18 U.S.C. § 111(a) convictions “because, viewing the evidence in the light



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most favorable to the prosecution, a reasonable trier of fact could have concluded beyond a

reasonable doubt that as the defendant ran east along the White House fence, spraying gunfire

across the North Lawn, he acted with the purpose of putting Secret Service agents on the North

Lawn in fear of imminent serious bodily harm.” Id.

       Other federal courts have rejected multiplicity arguments where, like here, each of multiple

18 U.S.C. § 111 assaults occurred had a corresponding victim. For example, in 2020, the Ninth

Circuit Court of appeals rejected the defendant’s reliance on Ladner v. United States, 358 U.S. 169

(1958)—one of the main cases relied upon by defendant Thomas in his motion—and instead held

as follows:

       [Defendant] argues that because he fired the four shots in quick succession, he
       committed only one assaultive act and can be convicted of only one assault. Voris
       primarily relies on Ladner, but Ladner did not consider whether multiple shots
       fired in quick succession must be considered as only one assault. Indeed, in Ladner,
       the Court suggested that multiple shots might constitute more than one
       violation. 358 U.S. at 178 n.6, 79 S.Ct. 209 (stating that “[i]n view of the trial
       judge’s recollection that more than one shot was fired ... we cannot say that it is
       impossible that petitioner was properly convicted of more than one offense, even
       under the principles which govern here” (internal quotation marks omitted)).

       Moreover, the out-of-circuit cases Voris cites do not support his position that the
       district court plainly erred in entering judgment on four of the assault convictions.
       None addressed the question here of whether multiple gunshots fired in quick
       succession must be construed as one assaultive act.

       Nor does logic support Voris’s position. Voris committed four assaultive acts by
       firing his weapon four separate times toward the door. Fortuitously, none of the
       officers was hit, but four (or more) could have been hit. And the evidence clearly
       supports that Voris knew multiple officers were in the precise area he targeted when
       he intentionally fired his deadly weapon through a wooden door and surrounding
       area. As long as there were four assaultive acts and at least four potential victims,
       there were four assaults.




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United States v. Voris, 964 F.3d 864, 870–71 (9th Cir. 2020) 1 (citing, e.g., Duran, supra; Thorne

v. United States, 406 F.2d 995, 998–99 (8th Cir. 1969) (holding the petitioner was properly

sentenced on two § 111 counts where the petitioner fired more than one shot during a scuffle with

two agents); Cameron v. United States, 320 F.2d 16, 17–18 (5th Cir. 1963) (holding the petitioner

had been properly convicted of two assaults where the petitioner and his co-defendant (Ladner)

shot “as many as five shots” at two officers)).

       As shown above, each of defendant’s five assaults occurred at different times, in different

locations, against different officer-victims, and were driven by a different impulse. Therefore,

they are not identical in law and in fact. For this reason, the defendant’s motion should be denied.

        II.    Defendant’s Motion is Premature, Given Multiplicity Does Not Provide
               Grounds for Dismissal.

       Even if the defendant had established that the assault counts are multiplicitous, the United

States Supreme Court has explained how a trial court should address an indictment that charges

potentially multiplicitous counts:

       [W]hile the Government may seek a multiple-count indictment . . . the accused may
       not suffer two convictions or sentences on that indictment. If, upon the trial, the
       district judge is satisfied that there is sufficient proof to go to the jury on both
       counts, he should instruct the jury as to the elements of each offense. Should the
       jury return guilty verdicts for each count, however, the district judge should enter
       judgment on only one of the statutory offenses.

Ball v. United States, 470 U.S. 856, 865 (1985); see also Ohio v. Johnson, 467 U.S. 493, 500

(1984) (“While the Double Jeopardy Clause may protect a defendant against cumulative

punishments for convictions on the same offense, the Clause does not prohibit the State from

prosecuting respondent for such multiple offenses in a single prosecution.”). As the D.C. Circuit




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 The Ninth Circuit did reverse one of the five assault convictions, however, because only four
victims had been established at trial.
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has stated, “[t]he primary evil of multiplicitous charges is that a defendant will be punished twice

for the same offense. This harm, if it exists at all, may be remedied during the sentencing phase if

the jury returns a conviction on all counts of the Superseding Indictment.” United States v. Sanford,

Ltd., 859 F. Supp. 2d 102, 124 (D.D.C. 2012); see also, e.g., United States v. Platter, 514 F.3d

782, 786 (8th Cir. 2008) (affirming trial court’s refusal to require the government to elect among

multiplicitous charges because “the proper remedy when a defendant is convicted of multiplicitous

counts is merger of the counts into one count”). Thus, any potential for multiplicity in an

indictment may be remedied after trial if and when the jury convicts on each of the five assault

charges. For this additional reason, the defendant’s motion is premature and should be denied.

       III.    Defendant is Properly Charged with Assaulting Officers.

       The defendant also contends that the “assaulting officer” counts in his indictment “do not

allege conduct that rises to the level contemplated by 18 U.S.C. § 111(a)(1)” and that his conduct

of “mere touching, bumping, or brushing” an officer is not an aggravated felony offense. Focusing

primarily on policy considerations and, without providing a legal basis to do so, the defendant

claims that the assault charges in his case should be dismissed. The government construes this as

a motion to dismiss due to a failure to state an offense due to a defect in the indictment pursuant

to Federal Rule of Criminal Procedure 12(b)(3)(B)(v). However, “[b]ecause a court’s ‘use[] [of]

its supervisory power to dismiss an indictment . . . directly encroaches upon the fundamental role

of the grand jury,’ dismissal is granted only in unusual circumstances.” See United States v. Cua,

Case No. 21-cr-00107-RDM, ECF No. 288 (February 22, 2023 Memorandum Opinion and Order)

(denying motion to dismiss 111 charges on 12(b) grounds) (citing United States v. Ballestas, 795

F.3d 138, 148 (D.C. Cir. 2015) (other citation omitted)). When considering a motion to dismiss,

the Court “is limited to reviewing the face of the indictment and more specifically, the language



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used to charge the crimes.” United States v. Sunia, 643 F.Supp.2d 51, 60 (D.D.C. 2009) (internal

citations and quotations omitted). “[T]he indictment must be viewed as a whole and the allegations

must be accepted as true at this stage of the proceedings.” United States v. Bowdoin, 770 F.Supp.2d

142, 145 (D.D.C. 2011).

       The circumstances here are not unusual. The defendant is charged with violating five

counts of assault on a federal officer, in violation of 18 U.S.C. § 111(a). ECF No. 49. On each of

these counts, the grand jury charged him with “forcibly assault[ing], resist[ing], oppos[ing],

imped[ing], intimidate[ing], and interfere[ing] with an officer of the United States[.]” Id. (Count

Three, Count Four, Count Five, Count Six, and Count Seven). 18 U.S.C. § 111(a) prohibits

“forcibly assault[ing], resist[ing], oppos[ing], imped[ing], intimidate[ing], and interfere[ing] with”

an officer of the United States. Instead of using the plain language of the statute, referring to the

charging language, or the evidence as presented by the government, defendant appears to argue

that the government’s failure to adhere to a reading of the charging statute that has not been

adopted in the D.C. Circuit somehow makes the charge subject to dismissal for failure to state a

claim. That is not and cannot be the standard. The government adhered to the law in the D.C.

Circuit when charging the statute, and does not have to charge every crime according to every

interpretation of a statute by every court in the United States. Such a requirement would bring the

criminal justice system to a halt and undermine the law’s bedrock principle of stare decisis.

       Moreover, only after trial will the Court be able to determine whether defendant’s conduct

violates the statute. In addition to selecting his preferred charging policies and law, the defense

bases his argument on his own interpretation of the facts, claiming that his “impulsive” actions

represent “mere touching, bumping, or brushing” without reference to the facts as contained in the

evidence provided or laid out in the affidavit supporting his arrest. A cursory review of those



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materials demonstrates that the defendant utilized significantly more forcible and intentional

conduct against the police officers. Given defendants have been convicted of assault for less, the

government submits that, at trial, it will also be able to clear this hurdle. See, e.g., United States

v. Dombrowsky, 111 App’x 716, 718 (5th Cir. 2004) (intentionally pushing officer constitutes

assault); United States v. Hernandez, 921 F.2d 1569, 1577 (11th Cir. 1991) (poking agent in chest

constitutes assault); United States v. Fernandez, 837 F.3d 1031, 1035 (11th Cir. 1988) (bumping

Assistant U.S. Attorney constitutes assault); United States v. High Tower, 512 F.2d 60, 61 (5th

Cir. 1975) (grabbing agent’s jacket constitutes assault).

          For all of these reasons, the defendant’s motion must be denied.

                                          CONCLUSION

          Based on the above, the government respectfully requests that defendant’s motion be

denied.

                                               Respectfully submitted,

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